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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )                    8:13CR58
      vs.                                   )
                                            )                     ORDER
MICHELLE C. CHRISTENSEN,                    )
                                            )
                                            )
                    Defendant.


       This matter is before the court on defendant's MOTION TO EXTEND TIME IN
WHICH TO FILE PRETRIAL MOTIONS [48]. The record shows that this deadline has shall
expire on May 22, 2013. The court finds that the defendant has not shown good cause for
extending the deadline.

      IT IS ORDERED:

        Defendant's MOTION TO EXTEND TIME IN WHICH TO FILE PRETRIAL MOTIONS
[48] is denied.

      Pursuant to NECrimR 57.2(a), a party may appeal this order by filing a “Statement
of Appeal of Magistrate Judge’s Order” no later than 12:00 noon on Tuesday, August 13,
2013.

      DATED this 6th day of August, 2013.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
